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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Ashees Cooper
                             Plaintiff,
v.                                                  Case No.: 1:13−cv−08395
                                                    Honorable Milton I. Shadur
I.C. System, Inc.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 18, 2014:


        MINUTE entry before the Honorable Milton I. Shadur: Status hearing held on
2/18/14. Pursuant to Fed. R. Civ. P. 41(a)(1)(i), Plaintiff Ashees Cooper hereby dismisses
her individual claims against Defendant I.C. System, Inc. without prejudice and the claims
of the putative class members without prejudice, with each party to bear its own costs. On
February 21, 2014, the dismissal of Plaintiffs individual claims shall become with
prejudice absent a motion to reinstate the case. Civil case terminated. Mailed notice(tlp, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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